    Case 2:16-cv-00760-WKW-SRW Document 1 Filed 09/15/16 Page 1 of 5
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                                                 RECEIVED
                          N THE UNITED                      DISTRICT COURT FOR
                             THEM1DDI

                                 I'S tSBRAPH
                                                       ST

     Full name and prison name of                            i?ICT AL
     Plaintiff(s)                                  )
     V.                                            )          CIVIL ACTION NO ?- 1(0 cv               'l(o 0 T}7)j1.
                                                              (To be supplied by Clerk of U.S. District




     Name of person(s) who violated your
     constitutional rights. (List the names        )
     of all the person.)                           )

     L      PREVIOUS LAWSUITS
            A,   Have you begun other lawsuits in state or federal court dealing with the same. or
                 similar facts involved in this action? YES 0 No V

            B.      Have you begun other lawsuits in state or federal court relating to your
                    imprisonment?    YES 0        NOV'

            C.      If your answer to A or B is yes, describe each lawsuit in the space below. (If there
                    is more than one lawsuit, describe the additional lawsuits on another piece ofpaper,
                    using the same outline.)

                    1.     Parties to this previous lawsuit:

                           Plaintiff (s)



                           Defendant(s)



                    2.      Court (if federal court, name the district; if state court, name the county)
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             3.     Docketmimber         -.
             4.     Name of judge to whom case    was   assigned

                                          p
             5.     Disposition (for exam le: was the case dismissed? Was itappealed? Is it still
                    pending?)
             6.     Approximate date of filing lawsuit
             7.     Approximate date of disposition
 H.    PLACE OF PRESENT CONFINEMENT %"\\n( C.


       PLACE OR INSTITUTION WHERE INC ID ENT OCCURRED                                   Q. t



 Ill. NAME ANDADDRESS OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
        CONSTITUTIONAL RIGHTS.
             NAME                                          ADDRESS
 I.                                              Q^Aqb lvn e-,,rl o v%        $1L-99

 2.
 3.                        -.
4.
 5.

 6.

 IV.   THE DATE UPON WHICH SAID VIOLATION OCCURRED _1                                          5

 V.    STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
       THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:
       GROUND ONE: St                                                           M, e- Qq, &JO

                        Ck)r&                              ci\\      wtk
       C)\
Case 2:16-cv-00760-WKW-SRW Document 1 Filed 09/15/16 Page 3 of 5



 STATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as best you can the
 time, place and manner and person involved.)

 'ç         ps \1\                           Ic
                                      re' ?-'                tj mQ

                   c-b (        t-o

              \.



 GROUND TWO: __\       'N.o   <'io           o o \?
       we'scJ                         "4                 \        tr



 SUPPORTNGFACTS:           Lc-    \ç-                             -o   s-h-\-
 j't                            -c'\o\                           t3
       VO                                   t-A                        ere\
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 GROUND THREE:




 SUPPORTING FACTS:
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                    ;
     VL STATE BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU.
          MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.
                                                                                       Lc
•                                                a)v                         C_j -

                               o




                                                 Signature of plaintiff(s)

          I declare under penalty of peijury that the foregoing is true and correct.
          Executed on   9          (Date)
                                                                    -.
                                                                                            -
                                                 Signature of plaintiff(s)
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